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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


 IN RE APPLICATION OF
 HORNBEAM CORPORATION
                                                              No. 14-24887-MC-SEITZ/TURNOFF
 REQUEST FOR DISCOVERY PURSUANT TO
 28 U.S.C. § 1782


         INTERVENORS PANIKOS SYMEOU AND HALLIWEL ASSETS, INC.’S
             UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL
                   CONFIDENTIAL STATEMENT OF CLAIM

                Panikos Symeou and Halliwel Assets, Inc. (“Respondents”), pursuant to S.D.Fla.

 L.R. 5.4, hereby files this Motion for Leave to File Under Seal Confidential Statement of Claim.

 Respondents state the following in support of this Motion:

        Respondents did not learn of these proceedings until the English statement of claim was

 filed under seal by Applicants in Alabama and New York proceedings on or about May 30, 2017.

 Applicants are filing the statement of claim under seal in this Court because it is not yet a

 publically available document in England. Accordingly, Respondents respectfully requests that

 the Court grant it leave to file confidential Statement of Claim under seal.

        Respondents respectfully request that the Statement of Claim remain under seal through

 and past the final resolution of this matter, including during any period of appeal taken by any

 party to this case, or until such time as the Statement of Claim is made publically available,

 except as otherwise ordered by this Court or required by law.

        A proposed order granting this motion is attached hereto as Exhibit A.

        WHEREFORE, Panikos Symeou and Halliwel Assets, Inc. respectfully request this Court

 to enter an Order authorizing the filing under seal of the confidential Statement of Claim.



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                           LOCAL RULE 7.1(a)(3) CERTIFICATION
        Counsel for Panikos Symeou and Halliwel Assets, Inc. conferred with opposing counsel

 regarding the relief requested herein, and opposing counsel has agreed to and does not oppose

 the Motion.


 Dated: June 30, 2017                   Respectfully submitted,

                                        /s/ Sujey S. Herrera
                                        Edward M. Mullins, emullins@reedsmith.com
                                        Florida Bar No. 863920
                                        Sujey S. Herrera, sherrera@reedsmith.com
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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 30, 2017, I filed a true and correct copy of the above

 and foregoing document with the Clerk of Court by using the CM/ECF e-filing system, which

 will send a notice of electronic filing to all counsel of record via electronic mail.

                                                /s/ Sujey S. Herrera
                                                Sujey S. Herrera




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